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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF OHIO
                                       WESTERN DIVISION

STEPHEN COOK, Individually and on                               :
Behalf of All Others Similarly Situated,                        :
                                                                :
                  Plaintiff,                                    :        Case No. 1:19-cv-195
                                                                :
v.                                                              :        Judge Dlott
                                                                :
THE OHIO NATIONAL LIFE                                          :
INSURANCE COMPANY, et al.,                                      :
                                                                :
                  Defendants.                                   :

       REPLY BRIEF OF DEFENDANTS IN SUPPORT OF OBJECTIONS TO THE
     MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION OF JUNE 28, 2019

         Defendants submit that, for the reasons discussed in their Motion to Dismiss and in their

Objections to the Magistrate Judge’s R&R, Plaintiff’s lack of standing is clear. Hence, the

Magistrate Judge erred, as a matter of law, in recommending otherwise. The R&R should be

rejected and Plaintiff’s Complaint should dismissed, in its entirety.

         Defendants submit this Reply, however, to address two arguments Plaintiff offered, for

the first time, in his response to Defendants’ objections, filed on July 23, 2019 (the “Response”).

[Doc. No. 33.]1        As discussed below, one of Plaintiff’s new arguments actually supports

Defendants’ position, and further proves the point as to why Plaintiff lacks standing to sue as a

third-party beneficiary of the Selling Agreement at issue. The other new argument is simply

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          In his July 24, 2019, letter to Chambers, Plaintiff stated that “neither Federal Rule of Civil Procedure 72 or
the Court’s Local Rules permit a reply brief for the Defendants’ Objection without leave of Court ….” That is
incorrect. Such rules do not mention reply briefs. Hence, replies are neither expressly permitted nor prohibited. In
practice, however, this Court has regularly considered reply briefs filed by an objecting party in ruling upon an
R&R. See, e.g., Bumgarner v. Ford Motor Gen. Ret. Plan, 2016 U.S. Dist. LEXIS 95941, *2 (S.D. Ohio, July 22,
2016) (Dlott, J.) (court noted that it considered the defendants’ “reply in support of their objections”); Waldman v.
Pitcher, 2011 U.S. Dist. LEXIS 104610, *1 (S.D. Ohio, Sept. 15, 2011) (Dlott, J.) (same).

         Defendants submit that the instant reply is, likewise, properly considered here. Nonetheless, to the extent
the Court believes leave is required, Defendants respectfully request leave to file the instant reply, instanter. Such
leave is clearly appropriate given that: (1) Plaintiff’s response to the Objections raised new arguments for the first
time; and (2) the reply is limited to addressing Plaintiff’s new arguments.
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misplaced, and is premised on a mischaracterization of both the contents of the R&R and

Defendants’ Objections thereto.

       A.      FINRA Rule 2320(g)(1), Invoked By Plaintiff, Demonstrates That Plaintiff
               Cannot Be A Third-Party Beneficiary Of The Selling Agreement.

       First, Plaintiff argues in the Response (for the first time) that FINRA Rule 2320(g)(1)

somehow supports his claimed status as a third-party beneficiary of the Selling Agreement. In

fact, just the opposite is true. Such rule demonstrates that Plaintiff cannot seek to enforce the

Selling Agreement as a third-party beneficiary, lest the agreement be rendered void and/or

unenforceable due to a violation of clear regulatory requirements.

       As Plaintiff notes, FINRA Rule 2320(g)(1) states, in pertinent part, that: “no associated

person [i.e., registered representative] of a [FINRA] member [broker-dealer] shall accept any

compensation from anyone other than the member with which the person is associated.” As

Plaintiff additionally asserts, this rule means that “Ohio National was prohibited under

applicable Financial Industry Regulatory Authority (FINRA) rules from paying any commissions

directly to representatives” like Plaintiff. [Response to Objections, at 4 (emphasis by Plaintiff).]

Precisely.

       The cited rule proves Defendants’ point.        The Selling Agreement is devoid of any

language evincing a clear intent to directly and/or primarily benefit individual representatives,

like Plaintiff, with the payment of commissions—as necessary for third-party beneficiary status

under Ohio law. Had it done so, the Selling Agreement would have violated the very FINRA

Rule Plaintiff purports to invoke.

       As a result, Plaintiff’s effort in this case to recover from Ohio National commissions

allegedly owed to Triad under the Selling Agreement is barred by the language of FINRA Rule




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2320(g)(1). Under that rule, Plaintiff, as a registered representative, is forbidden from even

“accept[ing]” the very commissions he now seeks to recover by way of this lawsuit.

       Of course, courts refuse to enforce illegal contracts, and they avoid construing contracts

in such a way as to render them illegal. See, e.g., Rinehart v. Martin, 2013 Ohio App. LEXIS

5165, *7 (11th Dist. Ct. App. Nov. 12, 2013) (“Courts of law and courts of equity will decline to

enforce obligations created by contract if the contract is illegal or the consideration given is

illegal, immoral, or against public policy”); Kebe v. Nutro Machinery Corp., 30 Ohio App. 3d

175, 177 (8th Dist. 1985) (“In construing an agreement, the court should prefer a meaning which

gives it vitality rather than a meaning which renders its performance illegal or impossible”).

       As a result, Plaintiff’s position only further demonstrates what is obvious from the

language of the Selling Agreement: Plaintiff is not an intended third-party beneficiary. For this

additional reason, Plaintiff lacks standing to enforce the Selling Agreement’s commission-related

provisions.

       B.      Defendants’ Objections To The R&R Are Sufficiently “Specific.”

       Second, Plaintiff disingenuously argues that Defendants have “waived” their objections

and “forfeited” their right to de novo review because their objections are not sufficiently

“specific.” That is nonsense.

       As the Court can readily see, Defendants asserted multiple objections to the Magistrate

Judge’s reasoning and analysis in reaching the conclusion that Plaintiff somehow possesses

standing to assert his various claims. Such reasoning and analysis encompasses a total of

approximately 2.5 pages of the 17-page R&R. [Doc. No. 26.] The rest of the R&R consists of a

summary of background information, a statement of the standard of review, a lengthy recitation




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of the parties’ respective positions and arguments, and a discussion of consolidation of this case

with Browning. [Id.] That’s it.

       The Magistrate Judge’s limited analysis of and conclusion as to the key issue—i.e.,

Plaintiff’s purported standing as a third-party beneficiary of the Selling Agreement—is premised

almost entirely on dicta in a footnote in Commonwealth Equity Services, LLC v. Ohio Nat’l Life

Ins. Co., 2019 U.S. Dist. LEXIS 57064, at *13 n.3 (D. Mass., Apr. 3, 2019). Defendants

squarely addressed and took issue with such analysis in their Objections. [Doc. No. 32 at

PAGEID#298-309.] They did the same with respect to the R&R’s conclusion that Plaintiff has

asserted a viable unjust enrichment “claim.” [Id. at PAGEID#309-12.]

       Put simply, Defendants explained—in significant detail—“how” and “why” the

Magistrate Judge’s conclusion that Plaintiff has standing is legally wrong. At bottom, the

Magistrate Judge misapplied both controlling Ohio law and the express language of the Selling

Agreement.

       Nothing more is required, even under the standard Plaintiff seeks to create at page 5 of

his Response. Defendants’ Objections explain in detail “how the [R&R’s] analysis is wrong,

why it was wrong and how de novo review will obtain a different result[.]” [Response at 5.]

They also compel rejection of the R&R and dismissal of Plaintiff’s Complaint.




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                                                Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on July 29, 2019, a copy of the foregoing was filed

electronically with the Clerk of this Court using the CM/ECF system, which will send

notification of such filing to all counsel of record to this action


                                                /s/ Marion H. Little, Jr.
                                                Marion H. Little, Jr. (0042679)


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